                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

STEPHANIE BRITT,                                   §
                                                   §
               PLAINTIFF,                          §
                                                   §
       VS.                                         §   CIVIL ACTION NO. 1:19-CV-00781-RP
                                                   §
                                                   §
WALGREEN CO.,
                                                   §
                                                   §
               DEFENDANT.                          §


                DEFENDANT WALGREEN CO.’S PROPOSED FINDINGS
                      OF FACT AND CONCLUSIONS OF LAW

       Defendant Walgreen Co. (“Defendant” or “Walgreens”) respectfully submits the following

Proposed Findings of Fact and Conclusions of Law:

                              I. Proposed Findings of Fact (Liability)

   A. The Fall

       1.      On September 22, 2017, Plaintiff entered a Walgreen’s store in Kyle, Texas

(hereinafter the “Store” or “Defendant’s Store”) at approximately 8:46 p.m. wearing flip-flops and

no back brace. See Plaintiff’s Trial Exhibit 1, Vol. 1, at 79:14-19. Plaintiff testified that she went

to Defendant’s Store with her mother and daughter to purchase a dental pick to finish her vinyl

work. Vol. 1, at 40:5-23.

       2.      According to Plaintiff’s testimony, her mother and daughter went to go look for ice

cream while she went in search of a dental pick. Vol. 1, at 40:5-23. At some point, Plaintiff went

to go catch up with her mother and daughter. Vol. 1, at 40:24-41:5. While walking towards her

family, Plaintiff testified that she was looking ahead and down the aisles—she was not looking at

the floor for potential hazards. Vol. 1, at 83:2-8. Before she reached her family, Plaintiff slipped


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on a clear liquid substance sometime between 8:46 p.m. and 9:10 p.m. on September 22, 2017. See

Plaintiff’s Trial Exhibit 1 & 2. Plaintiff admitted that she did not see anything on the floor before

she fell. Vol. 1, at 83:2-8.

        3.      There is no direct evidence establishing the source of the clear liquid substance on

the ground—a fact that is wholly undisputed by the parties. Among other potential sources, there

is surveillance video of an unidentified customer entering the Store and leaving with what appears

to be a bag of ice in a grocery cart approximately 26 minutes before Plaintiff fell. See Plaintiff’s

Trial Exhibit 1. The video does not show the bag ripped, torn, or otherwise leaking. Plaintiff’s

Trial Exhibits 1 & 26. Indeed, there is no trail of water or ice cubes behind the cart and there was

no evidence suggesting otherwise. Id.

        4.      In addition, Miguel Arredondo, a former employee of Defendant, testified at trial

and explained the policies maintained by Defendant as well as his observations the night of the

fall. Vol. 2, at 16:16-17:1. Specifically, he testified that employees were trained to check the floors

throughout the day to identify potential hazards. Vol. 2, at 18:13-19:16. This testimony was also

echoed by his co-workers Ashely Alexander and Brittny Whatley. See Deposition Excerpts of

Ashely Alexander Read at Trial, at 10:1-8 & 28:7-16, attached here as Exhibit A; Deposition

Excerpts of Brittny Whatley Read at Trial, at 8:1-20, attached here as Exhibit B. Because the

employees observed the condition of the floors throughout the day, there was no set schedule

detailing specific times an employee needed to check the Store floor for potential hazards. Id. at

21:14-22:16. As Mr. Arredondo stated: “If I’m walking from point A to point B, I’m checking the

floors.” Id. at 22:7-8. In fact, this training was implemented so well that it became second nature

for employees such as Mr. Arredondo. Id. at 19:12-23.




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        5.      On the night of the fall, Mr. Arredondo testified that he was the “floor person” and

would have been in charge of cleaning bathrooms and taking out the trash. Id. at 22:21-25. He

further stated that a few minutes before the fall he would have entered the stockroom to get trash

bags to take out the trash. Id. at 23:20-24:2. The stockroom is located by the cooler doors where

the fall occurred. Id. at 23:14-19. And, every time he went to the stockroom he “always look[ed]

left and right” down the aisle where the cooler doors are. Id. at 24:3-10. Notably, Mr. Arredondo

testified that he looked down the aisle where Plaintiff fell no more than ten minutes before the

incident occurred and did not see any clear liquid substance, water, or ice cubes on the floor. Id. at

24:19-25:19.

        6.      Mr. Arredondo also stated that cashiers looked out for damaged bags of ice, and,

when he worked as a cashier and encountered a customer purchasing a ripped, torn, or leaking bag

of ice he would offer them a new bag that was not damaged, or, if they insisted on purchasing the

damaged bag, he would double bag the ice so that it would not spill anymore. Id. at 30:17-31:12.

As is made clear in the surveillance video, the bag of ice was not double bagged. See Plaintiff’s

Trial Exhibit 1. Additionally, Mr. Arredondo did not recall any customer purchasing a ripped, torn,

or leaking bag of ice and no cashier reported selling such a bag. Vol. 2, at 30:1-3 & 31:13-17.

        7.      Finally, while Mr. Arredondo stated that, from time to time, a customer might pull

out a damaged bag from the freezer leaving behind ice cubes, he does not believe that happened

in this case. Specifically, when Mr. Arredondo has seen a ripped, torn, or leaking bag removed

from the freezer, it leaves ice or water in other parts of the store. Id. at 29:4-30:3. In this instance,

he did not see or hear reports from others that ice or water was located in other parts of the store.

Id.




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                                  II. Conclusions of Law (Liability)

       A. Texas Law Requires Temporal Evidence in Slip and Fall Cases

             8. To establish her claim for premises liability, Plaintiff must prove four elements:

       (1) the property owner had actual or constructive notice of the condition causing
       the injury;
       (2) the condition posed an unreasonable risk of harm;
       (3) the property owner failed to take reasonable care to reduce or eliminate the risk;
       and
       (4) the property owner’s failure to use reasonable care to reduce or eliminate the
       risk was the proximate cause of injuries to the invitee.

       McCarty v. Hillstone Rest. Group, Inc., 864 F.3d 354, 358 (5th Cir. 2017) (quoting Henkel

v. Norman, 441 S.W.3d 249, 251-52 (Tex. 2014)).

       9.       A threshold requirement in a premises liability case is that Plaintiff must show the

landowner had actual or constructive notice of the premises defect. See, e.g., Beavers v. Flying J

Inc., 1:05-CV-244, 2006 WL 8440669, at *6 (E.D. Tex. May 25, 2006) (citing Cadenhead v.

Hatcher, 13 S.W.3d 861, 864 (Tex. App.—Fort Worth 2000, no pet.) and Richardson v. Wal-Mart

Stores, Inc., 963 S.W.2d 162, 165 (Tex. App.—Texarkana 1998, no pet.)). In this case, it is

undisputed that Defendant did not have actual notice of a clear liquid substance on the floor. As a

result, Plaintiff must establish that Defendant had constructive notice.

       10.      To establish a property owner’s constructive notice of an unreasonable risk of harm,

a Plaintiff must show that the hazardous condition existed for some definite length of time. Wal-

Mart Stores, Inc. v. Reece, 81 S.W.3d 812, 815 (Tex. 2002). Texas adopted the “time-notice” rule

because “temporal evidence best indicates whether the owner had a reasonable opportunity to

discover and remedy a dangerous condition.” Id. at 816. Indeed, proximity alone cannot establish

constructive notice because it only indicates “that it was possible for the owner of the premises to

discover the dangerous condition, not that the owner reasonably should have discovered it.” Pena

v. Home Depot U.S.A., Inc., 32 F. Supp. 3d 792, 797 (S.D. Tex. 2013) (citing Reece, 81 S.W.3d at

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816) (emphasis in original). “Without some temporal evidence, there is no basis upon which the

factfinder can reasonably assess the opportunity the premises owner had to discover the dangerous

condition.” Reece, 81 S.W.3d at 816. Thus, when determining whether a defendant had

constructive knowledge of a hazardous condition, the court must consider evidence of (1)

longevity; (2) proximity, and (3) conspicuity. Pena, 32 F. Supp. 3d at 797 (citing Reece, 81 S.W.3d

at 815-17). However, while these are all factors the Court must consider, there still must be “some

proof of how long the hazard was there . . .” Pena, 32 F. Supp. 3d at 802 (citing Reece, 81 S.W.3d

at 816).

         B. Plaintiff Cannot Meet Her Burden to Establish That Defendant Had Constructive
            Notice of the Clear Liquid Substance

                 i.     Plaintiff Has No Temporal Evidence (i.e. Longevity) Establishing How Long
                        the Clear Liquid Substance Was Present Outside of Mere Speculation

         11.       At trial, Plaintiff attempted to establish constructive notice through the following

circumstantial evidence: (1) an unidentified customer left the store with a bag of ice approximately

26 minutes before Plaintiff fell; (2) the clear liquid substance was seen in front of the ice freezer

after the fall; (3) Defendant’s employees knew that, from time to time, ice could fall out of torn or

ripped bags1; (4) a Defendant’s employee testified that the puddles were consistent with melted

ice cubes; and (5) there is no evidence that the clear liquid substance came from anywhere else.

         12.       At the outset, the surveillance video showing an unidentified customer leaving the

store with a bag of ice is not a video from the aisle where Plaintiff allegedly fell. Plaintiff’s Trial

Exhibits 1 & 26. The area where Plaintiff allegedly fell was not under video surveillance, so no




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  Plaintiff has continuously asserted that constructive notice exists because there is testimony that ice falls out of ripped
or torn bags from time to time when the bag of ice is pulled out of the freezer. However, the mere fact that this happens
from time to time does not establish that it happened on this particular occasion. In fact, the evidence before the Court
clearly shows otherwise. Simply put, Plaintiff fails to demonstrate the necessary temporal evidence to establish
liability.

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video exists. Plaintiff’s Trial Exhibits 1 & 26. Because of this, there is no video evidence showing

the unidentified customer pulling out a bag of ice that was ripped or torn and dropping ice in the

area where Plaintiff allegedly fell. In fact, the video evidence demonstrates just the opposite.

Plaintiff’s Trial Exhibits 1 & 26.

       13.     Specifically, the bag of ice in the video is not ripped, torn, or leaking. Id. Also, the

bag of ice in the video is not double bagged which, according to a defense witness, is the custom

when a cashier notices a bag of ice is ripped, torn, or leaking. Vol. 2, at 30:17-31:12. Lastly, there

is no evidence of ice or water trails throughout the store which would be expected if the bag was

ripped, torn, or leaking. Id. at 29:4-30:3 & 31:13-17.

       14.     In fact, Plaintiff’s own testimony failed to provide the requisite temporal evidence.

Specifically, she testified that she: (1) did not know what the liquid was; (2) did not see the liquid

until she hit the floor; and (3) did not know how long the liquid was on the floor before she fell.

Vol. 1, at 83:2-8; see also Plaintiff’s Deposition Transcript, attached hereto as Exhibit C, at

207:11-14, 207:17-208:3, 209:12-19, and 209:25-210:3.

       15.     Essentially, the only evidence related to longevity is that Plaintiff slipped on a clear

liquid substance and that an unidentified individual may have purchased a bag of ice that, when

pictured at the front entrance, is not double bagged, leaking water, or dropping ice cubes. In short,

Plaintiff’s entire case relies on the assumption that this bag of ice was the source of the clear liquid

substance. That argument, however, is nothing more than pure speculation and is not supported by

the evidence. Thus, the Court finds that Plaintiff wholly failed to provide the required temporal

evidence as required by Texas law.

       16.     Because the Court has determined that Plaintiff has not provided temporal evidence

(i.e. failed to establish longevity) the Court does not need to analyze proximity and conspicuity.



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Specifically, for either factor to be relevant to the Court’s analysis, Plaintiff is required to offer

some proof of how long the clear liquid substance was on the floor and where it came from. See

Reece, 81 S.W.3d at 816 (noting that for proximity to be relevant “there must be some proof of

how long the hazard was there before liability can be imposed” because, otherwise, “owners would

face strict liability for any dangerous condition on their premises”); Pena, 32 F. Supp. 3d at 798

(rejecting conspicuity evidence where the plaintiff failed to establish how long the hazard had been

on the floor or where it came from).2

         17.      Here, as explained above, Plaintiff failed to meet her burden. As a result, the Court

will issue a separate final order that Plaintiff take nothing by way of her suit and that Defendant

shall recover its expenses and costs as permitted by Federal Rule of Civil Procedure 54(d).

         C. Defendant did Not Fail to Exercise Reasonable Care to Reduce or Eliminate the
            Risk

         18.      Even assuming arguendo, that Defendant had constructive knowledge of the clear

liquid substance, the Court finds that Defendant did not fail to exercise reasonable care to reduce

or eliminate the risk.

         19.      “The duty owed by an owner or occupier of premises to an invitee is not that of an

insurer.” CMH Homes, Inc. v. Daenen, 15 S.W.3d 97, 101 (Tex. 2000). “Thus, a defendant has ‘no




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  Even if the Court was required to analyze proximity and conspicuity, those factors would weigh in favor of
Defendant. Specifically, Plaintiff presented no evidence that any of Defendant’s employees were ever in close
proximity to the clear liquid substance that Plaintiff allegedly fell on. In fact, Mr. Arredondo, who was the only
employee somewhat near the freezer aisle, testified that approximately ten minutes before the fall he looked down the
freezer aisle and saw no substance on the floor. Vol. 2, at 24:19-25:19; see Pena, 32 F. Supp. 3d at 798 (rejecting
proximity evidence where the plaintiff had no evidence that any of the defendant’s employees were in proximity to
the hazardous condition before the plaintiff fell). Furthermore, Plaintiff’s own testimony confirms that the clear liquid
substance was not conspicuous. Indeed, she admitted that she did not see the clear liquid substance on the floor before
she fell. Vol. 1, at 83:2-8; see id. at 799 (finding that a nine-inch puddle which was the same color as the floor was
not conspicuous where the Plaintiff admitted she did not see the substance). In sum, even when considering all three
prongs together the Court finds that Plaintiff’s unsubstantiated speculative claims concerning longevity, proximity,
and conspicuity of the clear liquid substance do not satisfy her burden of proof, and, therefore, do not demonstrate
that Defendant had constructive notice of the substance.

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duty’ to take safety measures beyond those that an ordinary reasonable landowner would take.”

Austin v. Kroger Tex., L.P., 465 S.W.3d 193, 204 (Tex. 2015).

         20.      In this case, there was testimony that occasionally a customer would purchase a bag

of ice that was ripped, torn, or otherwise leaking and ice (or water) would fall on the floor. Vol. 2,

at 29:4-30:3. To counter this rare occurrence, the evidence showed that Defendant trained and

required its employees to monitor the floor and clean up any spill they noticed. Id. at 21:14-22:16;

see also Exhibit A, at 10:1-8 & 28:7-16; Exhibit B, at 8:1-20. Consistent with Walgreen’s policy,

Mr. Arredondo testified that he looked down the freezer aisle approximately ten minutes before

Plaintiff fell and did not notice any clear liquid substance on the ground. Vol. 2, at 24:19-25:19.3

Requiring any further precautions would essentially make Defendant the insurer of Plaintiff’s

safety, which, as noted above, is contrary to clear Texas case law. See Brookshire Grocery Co. v.

Taylor, 222 S.W.3d 406, 408 (Tex. 2006) (“Otherwise, similar evidence could be used to show

that the entire grocery store was unreasonably dangerous, since it is almost always the case that

something more could have been done to prevent a customer from being struck by an article falling

off a shelf or from slipping on the floor.”).

         21.      In sum, it is clear that Defendant took all precautions that an ordinary and

reasonable storeowner would take, and that Defendant did not fail to exercise reasonable care to

reduce or eliminate the risk. Thus, even assuming that Defendant had constructive notice, the Court



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  Plaintiff argued at trial Defendant is somehow liable because it failed to place mats in front of the freezer section.
Vol. 1, 12:18-20. However, Plaintiff produced no evidence from any expert witness that the floor’s slip resistance
inside of Defendant’s store warranted using mats. See Briley v. Wal-Mart Stores, Inc., No. 2:15-CV-439, 2018 WL
276368, at *7 (S.D. Tex. Jan. 3, 2018) (“Matters of slip resistance and surface friction are beyond the understanding
and experience of the average lay citizen.”) (cleaned up). Because this is a matter outside the knowledge of a lay
individual and because Plaintiff failed to present expert testimony establishing the need for mats or other slip resistant
material, the Court rejects Plaintiff’s counsel’s argument on this topic because it is not supported by any evidence and
is merely argument of counsel. See Oliveira v. Lynch, 670 Fed. Appx. 307 (5th Cir. 2016) (stating that arguments of
counsel do not constitute evidence); Ex parte G.A.A., No. 04-20-00533-CV, 2021 WL 4066995, at *3 (Tex. App.—
San Antonio Sept. 8, 2021, no pet.) (noting that “arguments of counsel is not evidence”).

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finds that Defendant is not liable for Plaintiff’s injuries because it exercised reasonable care.

       D. Conclusion

       22.     The Court finds that Plaintiff has not proven by a preponderance of the evidence

that Defendant had constructive notice of the clear liquid substance. As a result, the Court will

issue a separate final order that Plaintiff take nothing by way of her suit and that Defendant shall

recover its expenses and costs as permitted by Federal Rule of Civil Procedure 54(d).

       E. Alternatively, Plaintiff Failed to Keep a Proper Lookout

       23.     In the alternative, should the Court determine that Defendant had constructive

notice of the clear liquid substance and failed to exercise reasonable care to reduce or eliminate

the risk, Defendant offers the following proposed finding.

       24.     Texas law follows proportionate responsibility. Under Texas Civil Practice and

Remedies Code Section 33.003 the trier of fact is permitted to assign a percentage of responsibility

to plaintiffs and defendants. If a Plaintiff’s responsibility exceeds 50%, they may not recover

damages for their claims. TEX. CIV. PRAC. & REM. CODE § 33.001.

       25.     In this case, Plaintiff had a duty to keep a proper lookout while walking in

Defendant’s Store. Indeed, “[i]t s a cardinal rule of law that a person is required to make reasonable

use of his faculties of sight, hearing, and intelligence to discover dangers and conditions of danger

to which he is, or might become, exposed, and one injured as a result of his failure to use his

faculties to observe and discover a danger which would have been observed and discovered by an

ordinarily prudent person is guilty of contributory negligence.” U.S. Gypsum Co. v. Balfanz, 193

F.2d 1, 4 (5th Cir. 1951); see also Quintanilla v. Tuma's Estate, 579 S.W.2d 531, 533 (Tex. Civ.

App.—San Antonio 1979, writ ref’d n.r.e.) (“Although [plaintiff] was not required to anticipate

negligent and unlawful conduct on the part of others, he was not entitled to close his eyes to that



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which would have been observed by a person of ordinary prudence in a similar situation.”); Patino

v. Furr's Supermarkets, 512 S.W.2d 54, 56 (Tex. Civ. App.—El Paso 1974, writ ref’d n.r.e.)

(noting that a plaintiff had a duty to exercise ordinary care to prevent injury to himself, including,

keeping a proper lookout while walking in the defendant’s store).

         26.    The Court determines that Plaintiff failed to keep a proper lookout while walking

in Defendant’s Store. Specifically, she admitted that she was not looking at the floor for potential

hazards while she was walking towards her family and testified that she never saw the clear liquid

substance before she fell. Vol. 1, at 83:2-8. In addition, Plaintiff visited the store wearing flip-flops

despite knowing that she was suffering from chronic back issues. Id. at 79:18-19.

         27.    Pursuant to Texas Civil Practice and Remedies Code Section 33.003, the Court

assigns Plaintiff 51% fault and Defendant 49% fault for the accident at issue. Thus, as Plaintiff has

been assigned greater than 50% fault, she may not recover damages in this suit. As a result, the

Court will issue a separate final order that Plaintiff take nothing by way of her suit and that

Defendant shall recover its expenses and costs as permitted by Federal Rule of Civil Procedure

54(d).

                              III. Proposed Findings of Fact (Damages)

         28.    Defendant believes that Plaintiff has failed to prove her liability case. As a result,

Defendant believes that Plaintiff is not entitled to damages, that a defense verdict should be

granted, and that a take-nothing judgment against Plaintiff should be entered with costs and

expenses awarded to Defendant as allowed by Federal Rule of Civil Procedure 54(d). Nonetheless,

in the event the Court disagrees, Defendant provides alternative findings of fact regarding

Plaintiff’s damages claims.

    A. Plaintiff Has a Long History of Back Pain and Several Reported Falls Preceding the
       Incident at Defendant’s Store


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       29.     In December of 2011, Plaintiff slipped in her shower and fell on her tailbone

causing her to visit the emergency room. Vol. 1, 59:4-22 & 77:1-13. Plaintiff first injured her back

in 2012 when she was moving a car seat and felt popping in her back-causing pain so severe that

she was forced to visit the emergency room. Vol. 1, 57:20-58:6. In fact, Plaintiff testified that the

2012 back injury was the most painful thing that she had ever been through. Id. at 58:12-20. Her

pain persisted from 2012 to 2016 and prevented her from working. Id. 58:21-25. Plaintiff described

herself as being in “very bad shape” during this timeframe. Id.

       30.     Notably, in April of 2016 Plaintiff visited an emergency room in Kyle, Texas

complaining of low back pain as well as left leg pain, which, is the same left leg in which she

complained of pain after her fall at Defendant’s Store. Id. at 60:9-61:2. She was then transferred

to Seton Hays in Kyle to see a neurologist, Dr. Motiva Misra. Dr. Misra performed an MRI of

Plaintiff and determined that her back and left leg pain were chronic in nature and “out of

proportion to the MRI findings.” Id. at 62:9-64:21. In addition, Dr. Misra noted that Plaintiff’s left

leg weakness was not explained by the MRI. Id. Similarly, in September of 2016, Plaintiff visited

Dr. Wang and complained of low back pain and left leg pain limiting her ability to walk long

distances. Id. at 65:1-66:2.

       31.     On January 5, 2017, about eight months before the incident made the basis of this

lawsuit, Plaintiff fell in her garage causing severe low back pain for which she visited the

emergency room. Id. at 66:3-67:6. And, again, on January 17, 2017, Plaintiff visited the Kyle

emergency room due to sudden “hot poker” pain in her low back. Id. at 68:16-69:12. The next day

Dr. Wang performed an MRI and noted in his records that her degree of pain was out of proportion

to the radiographic findings. Id. at 70:18-71:19.




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       32.     Further, Dr. Wang noted that a discectomy would not relieve her symptoms, and,

therefore, he did not recommended surgery. Id. at 71:24-72:21. Regardless, in March of 2017,

Plaintiff underwent a decompression with discectomy at the L5-S1 level performed by Dr. Garza—

i.e. the same surgery that Dr. Wang would not perform. Id. at 74:5-8. On September 18, 2017,

Plaintiff followed up with Dr. Garza and reported “new left leg pain symptoms that radiate toward

her foot.” Id. at 89:19-90:9.

   B. Medical Treatment After the Fall

       33.     After the fall on September 22, 2017, Plaintiff was transported to the emergency

room by ambulance. Id. at 87:18-20. Upon arrival, Plaintiff complained of left leg pain, which, is

the exact same pain she complained about to Dr. Garza before and after her surgery. Id. at 88:18-

24. Interestingly, Plaintiff did not visit Dr. Garza until two months after the fall on November 27,

2017. Id. at 90:20-91:3. Moreover, between September of 2017 and November of 2017 Plaintiff

visited the emergency room on three separate occasions and never mentioned back pain or the fall

at Defendant’s Store. Id. at 91:22-92:4. She received no other medical treatment for her back

during this two-month time frame. Id. at 88:25-89:18.

       34.     Two years later on November 15, 2019, Plaintiff visited Dr. Frank Kuwamura for

the first time for her lower back pain. See Excerpts of Dr. Kuwamura’s Deposition Utilized at

Trial, attached hereto as Exhibit D, at 131:10-16. At this visit he ordered an MRI of Plaintiff’s

lumbar spine. Vol. 1, at 97:15-23. On January 23, 2020, Plaintiff followed up with Dr. Kuwamura

to discuss her MRI. Id. During this visit, which was only the second time Plaintiff ever saw Dr.

Kuwamura, he recommended and scheduled an anterior lumbar interbody fusion at the L4-L5 and

L5-S1 levels which Plaintiff received on February 10, 2020. See Plaintiff’s Trial Exhibit 5.




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   C. Plaintiff’s Pain and Suffering/Mental Health

       35.     On February 16, 2018, about five months after Plaintiff’s fall at Defendant’s Store,

Plaintiff visited Dr. Garza and filled out a patient health questionnaire that contained questions

related to her mental health. Vol. 1, at 92:17-93:13. In response to a question that asked whether

Plaintiff had little interest or pleasure in doing things, Plaintiff responded “not at all.” Id. In

addition, in response to a question that asked whether Plaintiff was feeling down, depressed, or

hopeless, Plaintiff responded “not at all.” Id.

       36.     Further, Plaintiff’s husband, Charles Britt, testified at trial that her mental health

was great, her emotional health was great, that she was getting better every day, and that the

surgery with Dr. Kuwamura gave her a little life back. Id. at 145:25-146:11. Finally, Plaintiff has

not seen any psychiatrists or counselors for any alleged mental health issues. Id. at 99:18-21.

                                  IV. Conclusions of Law (Damages)

       37.     As noted above, Defendant believes that Plaintiff failed to prove her liability case.

As a result, Defendant believes that Plaintiff is not entitled to damages, that a defense verdict

should be granted, and that a take-nothing judgment against Plaintiff should be entered with

expenses and costs awarded to Defendant as allowed by Federal Rule of Civil Procedure 54(d).

Nonetheless, in the event the Court disagrees, Defendant provides alternative conclusions of law

regarding Plaintiff’s damages claims.

       A. In the Alternative, the Fall Did Not Proximately Cause Plaintiff’s Injuries

       38.     In the alternative, and assuming arguendo that the Court determines that Defendant

did have constructive notice of the clear liquid substance, Plaintiff also failed to demonstrate that

the fall proximately caused her injuries. See McCarty, 864 F.3d at 358 (noting that a plaintiff in a




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premises liability case must prove that the property owner’s failure to use reasonable care to reduce

or eliminate the risk was the proximate cause of injuries to the invitee).

        39.     At the outset, Plaintiff’s own treating physician, Dr. Garza, did not state that the

accident was the sole cause of Plaintiff’s anterior lumbar interbody fusion. Instead, Dr. Garza’s

trial testimony shared three potential theories regarding Plaintiff’s need for the second surgery: (1)

Dr. Garza’s surgery was inadequate; (2) Dr. Garza’s surgery was adequate, but, a small disc

herniation remained; or (3) it was a new herniation caused by the fall. See Excerpts of Dr. Garza’s

Deposition Utilized at Trial, attached hereto as Exhibit E, at 82:23-85:6 & 85:16-86:24. Although

Dr. Garza shared these three potential theories, he was unable, at least based on the objective data,

to opine whether the fall caused a new herniation requiring surgery. Id.

        40.     In contrast to Dr. Garza’s uncertainty regarding the fall causing anatomical changes

to Plaintiff’s spine, Dr. Adewale Adeniran, an orthopedic spine surgeon, opined that the slip and

fall did not cause anatomical changes to her spine. Vol. 2, at 51:5-53:8 & 54:10-14. In fact, Dr.

Adeniran further opined that with no anatomical changes and evidence of only degenerative disc

disease, the surgery performed by Dr. Kuwamura could not be related to the fall. Id. Specifically,

Dr. Adeniran based his opinions on three studies: (1) the CT Scan done immediately after the

accident; (2) a nerve conduction study; and (3) flexion X-rays of Plaintiff’s lumbar spine.

        41.     First, the records indicated that Plaintiff received a CT scan after she was taken to

the emergency room on September 22, 2017. Vol 2., at 51:5-52:24. According to Dr. Adeniran,

this CT scan did not demonstrate an acute bone abnormality in Plaintiff’s spine; instead, it showed

chronic degenerative changes in her lumbar spine. Id. at 51:5-53:8 & 54:10-14. Thus, Dr. Adeniran

opined that the CT scan demonstrated that the fall did not cause any new structural problems with

Plaintiff’s spine. Id.



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        42.     Next, Dr. Adeniran focused on a nerve conduction study performed on Plaintiff.

Id. at 54:20-57:12. He explained that a nerve conduction study helps determine whether an

individual’s nerves are working correctly, or, whether they are damaged. Id. In this case, Plaintiff

underwent a nerve conduction study on September 19, 2018, which came back normal. Id. With a

normal finding, Dr. Adeniran opined that there was no new medical problem with the nerve on

Plaintiff’s left side; therefore, the fall could not have been the cause of Plaintiff’s left leg pain. Id.

        43.     Finally, Dr. Adeniran reviewed flexion and extension X-rays that Plaintiff had in

September of 2019. Id. at 58:4-58:24, 59:10-15, & 59:19-61:19. These X-rays can reveal instability

which is often referred to as spondylolistheses—a condition causing your back to shift forward

and backwards. Id. As Dr. Adeniran testified, the best indication that a fusion surgery is necessary

is when there is instability of the spine. Id. In this case, the flexion and extension X-rays revealed

that Plaintiff did not have any instability in her spine; therefore, the only plausible reason for

performing the fusion would be for degenerative disc disease which cannot be caused by the fall.

Id. at 61:6-23. As a result, Dr. Adeniran testified that the fusion surgery could not be reasonably

based on the fall at Defendant’s Store. Id. at 62:3-14.

        44.     In addition, Dr. Warren F. Neely, a board-certified neurosurgeon, also testified that

the fall on September 22, 2017 did not cause a need for surgery. Id. at 83:16-88:3, 88:14-95:18, &

97:3-98:8. Dr. Neely, after reviewing all of Plaintiff’s pre and post-accident MRIs, opined that

Plaintiff’s complaints were the result of degenerative disc disease and not traumatic injury related

to the fall. Id. Further, he noted advanced degenerative changes at the L3-4, L4-5, and L5-S1. All

of these spinal segments often lead to chronic back pain—which, not surprisingly, is a condition

Plaintiff began having as early as 2012. Id. at 98:9-24; Vol. 1, at 57:23-58:6.




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       45.     In forming their opinions, Dr. Adeniran and Dr. Neely both relied on pre and post-

accident MRIs and medical records of Plaintiff from 2012 to present. Vol. 2, at 48:15-49:22, 82:25-

83:8 & 83:16-84:6. This is significant because Dr. Kuwamura, the doctor who performed

Plaintiff’s fusion, attributed the need for this surgery to Plaintiff’s fall at Defendant’s store even

though he never reviewed Plaintiff’s pre-accident medical records or pre-accident MRIs. Exhibit

D, at 82:24-83:14, 84:21-85:4, 85:21-86:2, 94:2-10, 97:6-13, 104:21-105:14, 111:23-112:12,

121:10-22, 124:10-22, 172:15-173:4, 174:13-19 & 177:10-19. As a result, Dr. Kuwamura did not

have an opportunity to compare Plaintiff’s pre-accident spine condition with Plaintiff’s post-

accident spine condition like Dr. Adeniran and Dr. Neely.

       46.     This is critical. Analyzing prior medical tests allows a surgeon to have a complete

picture of a patient’s medical history. With a before and after picture, the surgeon can more

accurately determine whether a recommended surgery can be attributed to a fall or an established

pre-existing condition. Vol. 2, at 48:15-49:22, 82:25-83:8 & 83:16-84:6. Because it is undisputed

that Dr. Kuwamura failed to review pre-accident medical records, it is clear that he was not familiar

with Plaintiff’s pre-accident spine condition or how the fall affected Plaintiff’s spine, if at all.

Exhibit D, at 82:24-83:14, 84:21-85:4, 85:21-86:2, 94:2-10, 97:6-13, 104:21-105:14, 111:23-

112:12, 121:10-22, 124:10-22, 172:15-173:4, 174:13-19 & 177:10-19. This is in stark contrast to

Dr. Adeniran and Dr. Neely who both had a complete set of before and after medical records

related to Plaintiff’s spinal condition. Vol. 2, at 48:15-49:22, 82:25-83:8 & 83:16-84:6.

       47.     Moreover, Dr. Kuwamura is biased. Specifically, Dr. Kuwamura has a direct and

indirect financial interest in this litigation. As Dr. Kuwamura testified, he does not get paid unless

Plaintiff wins. See Deposition Excerpts of Dr. Kuwamura Played by Plaintiff at Trial, attached

hereto as Exhibit F, at 39:16-24. Also, Dr. Kuwamura testified that at the time Plaintiff had



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surgery, his now wife owned DC Medical—the company that provided surgical hardware for

Plaintiff’s surgery. Exhibit D, at 81:4-81:7. The combined financial interest Dr. Kuwamura stands

to lose or gain in this matter totals over $720,000.00.

        48.     Based on the facts referenced above, the Court finds that Dr. Kuwamura’s medical

causation testimony linking the fall to Plaintiff’s alleged personal injuries and need for anterior

lumbar interbody fusion lacks credibility and is weighed accordingly. The Court finds that the

testimony and opinions of Dr. Adeniran and Dr. Neely were credible and should be given greater

weight. Specifically, Dr. Adeniran and Dr. Neely’s opinion that the fall on September 22, 2017

did not cause a need for the surgery performed by Dr. Kuwamura was supported by a complete, as

opposed to an incomplete, examination of Plaintiff’s entire medical history and the condition of

Plaintiff’s spine before and after the fall.

        49.     Dr. Kuwamura also testified that due to the two-level anterior lumbar interbody

fusion he performed, Plaintiff will require a fusion at the L3-L4 level in the future. Vol. 2, at 62:15-

63:8. However, because the Court determined that the two-level fusion was not caused by the fall,

the Court also finds that the future surgery would be unrelated. This finding is supported by the

testimony and opinions of Dr. Adeniran and Dr. Neely who both testified at trial that because the

two-level fusion was not related to the fall, any future surgery would likewise be unrelated. Vol.

2, at 63:10-15 & 107:5-11.

        50.     In sum, the Court finds that Defendant did not proximately cause Plaintiff’s

injuries. As a result, the Court will issue a separate final order that Plaintiff take nothing by way

of her suit and that Defendant shall recover its expenses and costs as permitted by Federal Rule of

Civil Procedure 54(d).




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       B. Further In the Alternative, Plaintiff’s Requested Damages are Grossly Inflated

       51.     Defendant believes that Plaintiff has not proven her liability case. As a result,

Defendant believes that Plaintiff is not entitled to damages, that a defense verdict should be

granted, and that a take-nothing judgment against Plaintiff should be entered with expenses and

costs awarded to Defendant. Nonetheless, in the event the Court disagrees, Defendant provides

alternative findings regarding Plaintiff’s requested damages.

             i.   Medical Costs in the Past

       52.     Texas law is clear that a plaintiff in a personal injury lawsuit can only recover

damages for past medical expenses to the extent those expenses are reasonable. See In re K & L

Auto Crushers, LLC, 627 S.W.3d 239, 249 (Tex. 2021), reh'g denied (Sept. 3, 2021) (“It has long

been well-settled that ‘recovery of [medical] expenses will be denied in the absence of evidence

showing that the charges are reasonable . . .’”) (citing Dallas Ry. & Terminal Co. v. Gossett, 156

Tex. 252, 259, 294 S.W.2d 377, 383 (1956)). In fact, the Texas Supreme Court recently addressed

the question of whether medical expenses needed to be reasonable to be recoverable or if proving

they were paid or incurred was enough. The Texas Supreme Court explained:

       We disagree. Section 41.0105 limits a claimant’s recovery from a tortfeasor to the
       amount of medical expenses the claimant actually paid or incurred, meaning the
       amount the claimant’s provider has a legal right to be paid . . . But section 41.0105
       is not the only limit on a claimant’s recovery of medical expenses. In fact, it
       expressly imposes the paid or incurred limitation in addition to any other limitation
       under law. One such other limitation is the common law requirement that the
       amount of recoverable expenses be reasonable . . . The enactment of section
       41.0105 did not eliminate this common law limitation; instead, it expressly imposed
       the paid or incurred limitation in addition to the reasonableness limitation.

In re K & L Auto Crushers, LLC, 627 S.W.3d at 249 (internal citations and quotations omitted);

see also Cornejo v. EMJB, Inc., SA-19-CV-01265-ESC, 2021 WL 4526703, at *12 (W.D. Tex.

Oct. 4, 2021) (“Plaintiffs may only recover those expenses determined to be reasonable, and proof



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of the amount charged does not in itself constitute evidence of reasonableness.”) (internal citations

and quotations omitted).

       53.     In this case, Dr. Kuwamura charged Plaintiff $351,306.54 for her anterior lumbar

interbody fusion. Vol. 1, at 56:3-5; see also Plaintiff’s Trial Exhibit 5. However, Dr. Neely testified

at trial that a reasonable charge for that surgery is $69,200.00. Vol. 2, at 98:25-99:18. Furthermore,

Dr. Garza testified that a reasonable range for the surgery could be between $65,000.00-

$100,000.00. Exhibit E, at 121:23-122:7.

       54.     Based on the testimony of Dr. Garza, Dr. Neely, and Dr. Kuwamura, and

considering Dr. Kuwamura’s financial interest in this lawsuit, the Court finds that Dr. Kuwamura’s

charges are not reasonable and, instead, determines that the charges presented by the testimony of

Dr. Neely are reasonable. See In re K & L Auto Crushers, LLC, 627 S.W.3d at 249 (“[if] a claimant

agrees or is required to pay a medical provider more than a reasonable amount, the difference

between the amount paid and a reasonable amount is not a necessary and usual result of the tortious

act, but of the claimant’s or provider’s conduct.”).

       55.     Thus, assuming that Defendant proximately caused the alleged personal injuries

requiring the need for Plaintiff’s anterior lumbar interbody fusion, the Court finds Plaintiff is

entitled to $69,200.00, the reasonable charge for that surgery.

             ii.   Medical Costs in the Future

       56.     To recover for future medical expenses, Plaintiff must show there is a reasonable

probability that expenses resulting from the injuries she sustained in the fall will be necessary in

the future. See Pilgrim’s Pride Corp. v. Cernat, 205 S.W.3d 110, 121 (Tex. App.—Texarkana

2006, pet. denied). To make this showing, Plaintiff must provide evidence of: (1) a reasonable

probability that she will incur future medical expenses, and (2) the reasonably probable amount of



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the future medical expenses. Rosenboom Mach. & Tool, Inc. v. Machala, 995 S.W.2d 817, 828

(Tex. App.—Houston [1st Dist.] 1999, pet. denied). The factfinder may decide the amount of

future medical expenses based on: (1) the injuries suffered; (2) the medical care rendered before

trial; (3) the injured party’s progress toward recovery under the treatment received; and (4) the

condition of the injured party at trial. Id.

         57.    Dr. Kuwamura testified that as a result of the anterior lumbar interbody fusion

Plaintiff would, more likely than not, be required to undergo a one level fusion at the L3-L4 level

in the future. Dr. Kuwamura also testified that this one level fusion would cost $370,758.00. See

Plaintiff’s Trial Exhibit 5.

         58.    On the other hand, Dr. Neely testified that the reasonable rate for this surgery would

be approximately $69,200.00, though it could be less because it is only a one-level fusion as

opposed to a two-level fusion. Vol. 2, at 106:15-107:11. Similarly, Dr. Garza, Plaintiff’s own

treating physician and testifying expert, testified that the L3-L4 fusion could cost between

$40,000.00 and $75,000.00. Exhibit E, at 125:6-125:13.

         59.    The Court does not find Dr. Kuwamura’s testimony credible as it relates to the cost

of the one-level fusion in the future. First, and as noted above, Dr. Kuwamura has a direct financial

interest in this litigation making his testimony regarding medical costs less credible. Furthermore,

the future surgery is less complex and less time consuming than the two-level fusion previously

performed by Dr. Kuwamura. Despite this, Dr. Kuwamura claims that the future surgery is

approximately $20,000.00 more than the first surgery he performed. This does not make financial

sense.




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       60.      In sum, if Plaintiff requires a one level fusion at the L3-L4 level in the future that

is proximately caused by the fall, the Court finds the reasonable cost to be $69,200.00, which is

the amount of damages Plaintiff is entitled to for future medical treatment in this case.

             iii.   Loss of Earning Capacity in the Past and Future

       61.      Plaintiff also seeks damages for loss of earning capacity alleging she is unable to

work the remainder of her life due to the alleged accident. Plaintiff, however, has not held a full-

time job since 2006 and has not applied for a job since 2003. Vol. 1, at 30:5-9. Further, during the

time period of January 2018, a time when Plaintiff’s expert opined that Plaintiff was prevented

from returning to work due to the accident, Plaintiff had not applied for a job or had any job

prospects lined up. Id. at 128:7-9 & 128:12-21.

       62.      At trial, Robert Cox, a vocational rehabilitation counselor, testified regarding

Plaintiff’s capacity to work. Vol. 2, at 112:21-23. In forming his opinion, Mr. Cox relied upon

Plaintiff’s work history, reviewed all medical records to determine whether there were any existing

medical restrictions, and spoke to Plaintiff via Zoom. Id. at 114:23-116:20.

       63.      According to Mr. Cox, he concluded that Plaintiff could return to work in a

sedentary position. Id. at 116:25-117:23. Specifically, Mr. Cox based his opinion on the following

facts: (1) Plaintiff sat through her six-hour deposition with no obvious pain; (2) Mr. Cox

interviewed Plaintiff on Zoom where he was able to observe and talk with Plaintiff; (3) based on

his Zoom interview, Mr. Cox believed that Plaintiff was physically and mentally able to perform

sedentary work; and (4) Plaintiff did not have any medical restrictions preventing her from

working. Id. at 116:25-117:23 & 120:7-9. In Mr. Cox’s opinion, Plaintiff could have returned to

work in January of 2019, and, after her surgery with Dr. Kuwamura she could have returned to

work as of August 2020. Id. at 118:8-120:9.



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        64.     Thus, Mr. Cox believed that Plaintiff’s loss of earning capacity in the past should

be based on the time that she was prevented from working due to her surgery with Dr. Kuwamura.

Id. at 120:21-121:5. Dr. Horner, an expert economist, valued this time at $23,518.00. Id. at 120:21-

121:5 & 137:10-18. Further, in Mr. Cox’s opinion, Plaintiff did not suffer a future loss of earning

capacity because she was able to return to work in a sedentary capacity, which is similar to the last

job she held in 2006. Id. at 120:10-20.

        65.     In sum, the Court concludes that Plaintiff suffered a loss of earning capacity in the

past of $23,518.00 and further concludes that Plaintiff did not suffer a loss of earning capacity in

the future.

              iv.   Alternative: Loss of Earning Capacity in the Past and Future

        66.     Alternatively, if the Court determines that Plaintiff will never be able to hold a job

in the future, which Defendant disputes, Defendant offers the following conclusion of law.

        67.     At trial, Plaintiff’s economic expert, Marcus Reading, testified that if Plaintiff is

never able to return to work, then she will suffer damages in the range of $319,505.00 to

$940,685.00. Vol. 1, at 136:11-25. Mr. Reading testified that he had no wage-earning history for

Plaintiff when he created this damages range. Id. at 138:8-11.

        68.     This range is based on three scenarios regarding jobs that Mr. Stinson (Plaintiff’s

vocational rehabilitation expert) believes she could have held but for this accident. Vol. 1, at

136:11-25. The low end assumes that Plaintiff would earn minimum wage and the high end

assumes that she was doing work as a procurement clerk. Id.

        69.     However, there is one significant problem with Mr. Reading’s damages range.

Specifically, Mr. Reading calculated his figures by assuming that Plaintiff would work until age




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65 simply because she told him that she would have worked until retirement age. Id. at 138:16-

139:11. He did not rely on any statistical work life expectancy table. Id.

         70.         However, as Dr. Stephen Horner explained, Mr. Reading’s testimony was

unreliable because his analysis relied on Plaintiff’s subjective statement that she intended to work

until 65. Vol. 2, at 130:15-22 & 131:1-21. Dr. Horner, using reliable work life expectancy tables,

determined that Plaintiff’s work life-expectancy was 22.45 years. Dr. Horner thoroughly explained

the methodology of the work life expectancy tables and the Court finds them to be reliable. Id. at

132:4-134:19. Specifically, the Court finds a carefully developed statistical study is a more

accurate representation of an individual’s ability to work as opposed to their subjective opinion

that they want to work until retirement age. Thus, when considering the appropriate work life

expectancy, Mr. Reading’s damage range is reduced to $206,150.00-$582,691.00. Id. at 136:18-

137:9.

         71.         The Court finds the low end of Mr. Reading’s damage range, i.e. assuming Plaintiff

would have earned minimum wage, is appropriate because Plaintiff presented no wage-earning

history in this case, and, therefore presented no evidence to assume that she would earn higher

than minimum wage. Thus, this Court concludes in the alternative that Plaintiff is entitled to

$206,150.00 for her claim of loss of earning capacity.

                v.      Non-Economic Damages

         72.         At trial, Plaintiff’s counsel stated that he is seeking $7.5 million in noneconomic

damages. Vol. 1, 18:8-11. The Court does not believe that Plaintiff has presented evidence

sufficient to sustain such award.4



4
 The below areas of recovery for non-economic damages are the damages set forth in Plaintiff’s First Amended
Petition. These are the only non-economic damages that Plaintiff is entitled to recover because these are the only
non-economic damages for which Plaintiff plead in her live complaint.

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       1. Mental Anguish and Pain and Suffering

       73.     “The term ‘mental anguish’ implies a relatively high degree of mental pain and

distress. It is more than mere disappointment, anger, resentment or embarrassment, although it

may include all of these. It includes a mental sensation of pain resulting from such painful emotions

as grief, severe disappointment, indignation, wounded pride, shame, despair and/or public

humiliation.” Parkway Co. v. Woodruff, 901 S.W.2d 434, 444 (Tex. 1995). Pain and suffering

damages may be awarded for physical pain (as opposed to mental pain) actually experienced by

the plaintiff in the past, or physical pain the plaintiff will in reasonable probability experience in

the future. See, e.g., PNS Stores, Inc. v. Munguia, 484 S.W.3d 503, 517 (Tex. App.—Houston

[14th Dist.] 2016, no pet.).

       74.     Here, Plaintiff’s claim for mental anguish damages is diminished by the fact that

she indicated on a patient questionnaire in February of 2018 that she was not feeling down,

depressed, or hopeless. Vol. 1, at 92:17-93:12. Additionally, Plaintiff has not seen any psychiatrists

or counselors for any alleged mental health issues. Id. at 99:18-21. Finally, her husband testified

that at the time of trial her mental health was great, her emotional health was great, that she was

getting better every day, and that the surgery with Dr. Kuwamura gave her a little life back. Id. at

145:25-146:11. In the Court’s opinion, all of these facts weigh against finding that she has suffered

severe mental anguish in the past or future.

       75.     As it relates to pain and suffering, the Court notes that while Plaintiff testified that

she was in pain, she inexplicably waited two months to go see Dr. Garza, her surgeon, after the

fall. And, during the two months after the fall, she visited the emergency room on multiple

occasions and never mentioned that she was suffering from back pain. Vol. 1, at 88:25-89:18 &

91:17-92:4.



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        76.      Based on the evidence presented, the Court finds that an award of                         would

fairly compensate Plaintiff for her past mental anguish and pain and suffering damages and an

award of                      would fairly compensate future mental anguish and pain and suffering

damages.5

        2. Disability (Physical Impairment)

        77.      Physical impairment encompasses the loss of the injured party’s former lifestyle.

Dawson v. Briggs, 107 S.W.3d 739, 752 (Tex. App.—Fort Worth 2003, no pet.). While Plaintiff

did explain the effect the fall had on her ability to perform up to her former lifestyle, her husband

did note that she was doing much better, doing much more on her own, and getting closer to where

she was before the fall. Id. at 145:25-146:11.

        78.      Thus, based on the evidence presented, the Court finds that an award of                   would

fairly compensate Plaintiff for her past physical impairment damages and an award of                       would

fairly compensate her for her future physical impairment damages.

        C. Conclusion

        79.      Defendant believes that Plaintiff has not proven her liability case. As a result,

Defendant believes that Plaintiff is not entitled to damages, that a defense verdict should be

granted, and that a take-nothing judgment against Plaintiff should be entered with expenses and

costs awarded to Defendant. Nonetheless, in the event the Court disagrees, Defendant provides

alternative findings regarding Plaintiff’s requested damages.

        80.      Based on the findings of fact and conclusions of law, the Court finds that the

accident at issue proximately caused injuries to Plaintiff, resulting in both economic and non-

economic damages.


5
 Mental anguish and pain and suffering are combined as presented in the Texas Pattern Jury Instructions. See Texas
PJC 28.3 (2018).

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       81.   Accordingly, the Court awards the following damages to Plaintiff:


                       Past medical expenses          $69,200.00

                       Future medical expenses        $69,200.00

                       Loss of Earning Capacity in    $23,518.00
                       the Past
                       Loss of Earning Capacity in    $0.00
                       the Future
                       Past mental anguish and pain   $
                       and suffering
                       Future mental anguish and      $
                       pain and suffering
                       Past impairment                $

                       Future impairment              $

                       Total                          $



       82.   A final judgement will be entered separately.



SIGNED on                                  .



                                           ____________________________________
                                           THE HON. ROBERT PITMAN
                                           UNITED STATES DISTRICT JUDGE




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                                             Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned counsel certifies that on the 21st day of June, 2022, a true and correct
copy of the foregoing was forwarded to all known counsel via the Court’s CM/ECF system in
compliance with the Federal Rules of Civil Procedure.


                                             /s/ Stephen T. Dennis
                                             Stephen T. Dennis




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